

People v Camino (2024 NY Slip Op 50752(U))



[*1]


People v Camino (Frank)


2024 NY Slip Op 50752(U)


Decided on June 21, 2024


Appellate Term, First Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on June 21, 2024
SUPREME COURT, APPELLATE TERM, FIRST DEPARTMENT

PRESENT: Hagler, P.J., Tisch, James, JJ.



570065/18

The People of the State of New York, Respondent,
againstFrank Camino, Defendant-Appellant.




Defendant appeals from a judgment of the Criminal Court of the City of New York, New York County (Curtis Farber, J.), rendered December 13, 2017, convicting him, after a jury trial, of assault in the third degree and harassment in the second degree, and imposing sentence.




Per Curiam.
Judgment of conviction (Curtis Farber, J.), rendered December 13, 2017, affirmed.
The verdict was supported by legally sufficient evidence and was not against the weight of the evidence (see People v Danielson, 9 NY3d 342, 348-349 [2007]). There is no basis for disturbing the jury's credibility determinations and its assessment of a video recording of the incident. The jury reasonably determined that defendant's attack, in which he sprayed the victim in the face with pepper spray while inside a diner, was not preceded by any conduct by the victim that would support a reasonable belief that the use of physical force against defendant was imminent (see People v Goetz, 68 NY2d 96, 114-115 [1986]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concurDecision Date: June 21, 2024









